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IN THE UNITED STATES DISTRICT COURT

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FOR THE WESTERN DISTRICT OF TENNESSEE U5JUN_9 AH 9186

WESTERN DIVISION

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WENCOAST RESTAURANTS, INC.,
Plaintiff,
v.

NO. 05-2420 Ma/P

MARSHALL W. CRISS and
THOMAS POWELL,

`_¢v\-_¢V\_¢`_d~_r\-_¢VV

Defendants.

 

ORDER DENYING PLAINTIFF’S REQUEST FOR A TEMPORARY INJUNCTION AND
TRANSFERRING CASE TO THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF SOUTH CAROLINA IN CHARLESTON, SOUTH CAROLINA

 

On June 8, 2005, this court heard oral arguments on plaintiff
Wencoast Restaurants, Inc.'s (“Wencoast") request for a temporary
injunction. This case involves, among other issues, the removal of
defendant Marshall W. Criss (“Criss”) from the board of directors
of Wencoast. (Compl. at q 17.) Criss' position as a director of
Wencoast is provided for in q 4 of the Wencoast Restaurants, Inc.
Shareholder Agreement (the “Shareholder Agreement”).

The Shareholder Agreement contains a forum selection clause
which states that “any legal or equitable action or proceeding
arising under or in connection with this Agreement shall be brought
exclusively in any federal or state court within the County of

Charleston, State of South Carolina." (Shareholder Agreement at v

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17.) Because this case arises in part from and is connected with
the Shareholder Agreement, the forum selection clause applies.
Because this court is located in Shelby County, Tennessee, not
Charleston County, South Carolina, the court denies Plaintiff's
request for' a temporary injunction. Under‘ 28 U.S.C. § 1404 a
district court may transfer~ a civil case “in the interest of
justice” to another “district or division.” On Plaintiff's
oral motion, this case is TRANSFERRED to the United States District
Court for the District of South Carolina in Charleston, South

Carolina.

So ordered this g‘l¢\ day of June 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

UNITsED`ATE DISTRICT COURT - WESTERNDT"ISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
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Oscar C. Carr

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

i\/lemphis7 TN 38103

Wm. HoWell Morrison

MOORE & VAN ALLEN, PLLC
40 Calhoun St.'7 Ste. 300
Charleston7 SC 29401

Jeremy G. Alpert
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

i\/lemphis7 TN 38103

Quitman Robins Ledyard
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

i\/lemphis7 TN 38103

Bruce S. Kramer
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

